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10                                     UNITED STATES OF AMERICA

11                                NORTHERN DISTRICT OF CALIFORNIA

12                                           OAKLAND DIVISION

13   UNITED STATES OF AMERICA,                       )    CASE NO. CR 22-0059 HSG
                                                     )
14          Plaintiff,                               )    PRELIMINARY ORDER OF
                                                     )    FORFEITURE
15              v.                                   )
                                                     )
16   SHELBEE SZETO,                                  )
                                                     )
17          Defendant.                               )
                                                     )
18
19          Having considered the application for a preliminary order of forfeiture filed by the United States,
20 and the plea agreement entered on March 23, 2022, wherein the defendant, Shelbee Szeto, agreed to

21 forfeiture, and good cause appearing,

22          IT IS HEREBY ORDERED that the following property is forfeited to the United States pursuant
23 to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c):

24                   1.    Approximately $25,403.06 from the First Republic Bank account 80009721020
                           held in the name Shelbee Szeto
25
                     2.    2020 Tesla sedan with California license plate ZWYU,
26                         VIN: 5YJ3E1EC4LF746836
27                   3.    2021 Porsche sport utility vehicle with California license plate 33873HS,
                           VIN: WP1AG2A5XMLB50111
28
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 1                     4.    1 Louis Vuitton teddy bear

 2                     5.    1 Chanel black plastic purse

 3                     6.    1 Louis Vuitton black leather handbag and attached wallet

 4                     7.    1 Dior small black saddle bag

 5                     8.    1 Dior pink mini lady bag

 6                     9.    1 Dior rose micro lady bag

 7                     10.   1 Dior blue micro lady bag

 8                     11.   1 Gucci beige Soho small leather disco bag

 9                     12.   1 Chanel black medium classic flap bag

10                     13.   1 Chanel black medium Diana bag

11                     14.   1 Chanel black Coco handle bag

12                     15.   1 yellow/lime Hermes Kelly bag

13                     16.   1 black Hermes Kelly bag

14                     17.   1 pink Hermes Kelly bag

15                     18.   1 baby blue Hermes Kelly bag

16                     19.   1 teal Chanel classic medium bag

17                     20.   1 blue Chanel classic medium bag

18                     21.   1 light blue Chanel classic medium bag

19                     22.   1 lime Chanel classic medium bag

20                     23.   1 red Chanel classic medium bag

21                     24.   1 lavender Chanel classic medium bag

22                     25.   1 gray Chanel classic medium bag

23                     26.   1 pink Chanel classic medium bag

24                     27.   1 light pink Chanel classic medium bag

25                     28.   1 white Chanel classic medium bag

26                     29.   1 yellow/lime Chanel classic medium bag

27                     30.   1 black Chanel classic medium bag

28                     31.   1 silver Chanel classic small bag
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 1                     32.   1 pink Chanel classic small bag

 2                     33.   1 gold Chanel classic small bag

 3                     34.   1 iridescent pink Chanel classic small bag

 4                     35.   1 black Chanel classic small bag

 5                     36.   1 pearl Chanel classic large bag

 6                     37.   1 tan Chanel classic large bag

 7                     38.   1 black Chanel classic large bag

 8                     39.   1 pink Chanel classic bag

 9                     40.   1 beige Chanel classic large bag

10                     41.   1 light green Chanel classic large bag

11                     42.   1 teal Chanel classic large bag

12                     43.   1 white small Hermes Birkin bag

13                     44.   1 red small Hermes Birkin bag

14                     45.   1 teal small Hermes Birkin bag

15                     46.   1 pink small Hermes Birkin bag

16                     47.   1 light blue large Hermes Birkin bag

17                     48.   1 black large Hermes Birkin bag

18                     49.   1 teal crocodile Hermes Birkin bag

19                     50.   1 green Hermes Birkin bag

20                     51.   1 pink Hermes Birkin bag

21                     52.   1 beige Hermes Birkin bag

22                     53.   1 pink Hermes Birkin bag

23                     54.   1 black Hermes Birkin bag

24                     55.   1 Louis Vuitton backpack-type purse

25                     56.   1 Bulgari Serpenti Forever charm wallet

26                     57.   5 Hermes bag charms

27                     58.   1 pink pearl Chanel purse

28                     59.   1 silver Chanel purse
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 1                     60.   1 red-orange Chanel pursue

 2                     61.   1 black Chanel purse

 3                     62.   1 rainbow Chanel purse

 4                     63.   1 white Chanel small purse

 5                     64.   1 purple Chanel purse

 6                     65.   1 black Chanel purse with black chain strap

 7                     66.   1 black leather and pearl Chanel purse with black leather and chain straps

 8                     67.   1 white pearl Chanel purse with black interior

 9                     68.   1 gray-black sequin Chanel purse

10                     69.   2 black pearl Chanel purses

11                     70.   1 Chanel tweed flap bag

12                     71.   1 Louis Vuitton tote bag with wallet

13                     72.   1 green crocodile Hermes Birkin bag with pink horse charm

14                     73.   1 black leather Hermes Birkin bag

15                     74.   1 silver Chanel clutch purse

16                     75.   1 purple leather Chanel purse

17                     76.   1 beige Chanel purse

18                     77.   1 silver Chanel purse

19                     78.   1 rainbow Chanel purse

20                     79.   1 green crocodile mini Hermes Birkin bag

21                     80.   1 brown leather mini Hermes Birkin bag

22                     81.   1 black leather with smile mini Hermes Birkin bag

23                     82.   2 Dior crocodile small purses – 1 pink, 1 white

24                     83.   1 black and white Hermes snake purse

25                     84.   4 assorted Louis Vuitton purses/handbags

26                     85.   1 Prada black sequin purse

27                     86.   1 Burberry purse

28                     87.   1 Louis Vuitton beige fanny pack
     PRELIM. ORDER OF FORFEITURE
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 1                     88.    1 Louis Vuitton iridescent plastic purse

 2                     89.    2 coach handbags, 1 green, 1 beige

 3                     90.    5 assorted Louis Vuitton purses/handbags

 4                     91.    1 black and red Louis Vuitton backpack purse

 5                     92.    1 Chole beige purse

 6                     93.    3 Yves Saint Laurent purses – 1 crocodile, 1 white, 1 black

 7                     94.    1 baby blue Bulgari Serpenti purse

 8                     95.    1 Louis Vuitton bum bag purse

 9                     96.    1 Rolex men’s watch and box – serial number 6671M645

10                     97.    1 Rolex men’s watch and box – serial number 135Y2830

11                     98.    1 Rolex men’s watch and box – serial number 5P2U9359

12                     99.    1 Rolex men’s watch and box – serial number 1U4132V9

13                     100.   1 Audemar Piguet men’s watch and box – serial number XG7569R

14                     101.   6 silver necklaces with pendants

15                     102.   6 gold necklaces with pendants

16                     103.   3 silver bracelets

17                     104.   6 gold bracelets

18                     105.   1 silver panther ring

19                     106.   1 silver flower ring

20                     107.   1 silver Cartier bracelet

21                     108.   1 rose gold Cartier bracelet

22                     109.   1 gold Cartier bracelet

23                     110.   1 Christian Dior necklace

24                     111.   1 rose gold necklace

25                     112.   1 silver necklace

26                     113.   1 diamond necklace

27                     114.   2 gold necklaces

28                     115.   26 pairs of earrings
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 1                     116.   2 silver lock pendant

 2                     117.   2 gold lock pendant

 3                     118.   2 single earrings

 4                     119.   8 gold rings

 5                     120.   12 silver rings

 6                     121.   1 pair of butterfly earrings

 7                     122.   1 Chanel stud earring

 8                     123.   1 gold necklace

 9                     124.   1 pearl necklace

10                     125.   1 Patek Philippe watch – serial number 7265109

11                     126.   1 Rolex watch – serial number 923J1547

12                     127.   1 Patek Phillipe watch – serial number A381ACP

13                     128.   1 Rolex watch – serial number S4Y32171

14                     129.   1 Rolex watch – serial number 6P4R9587

15                     130.   1 Rolex watch – serial number H62020L4

16                     131.   1 Audemars Piguet watch – serial number CJ4604G

17                     132.   1 Bulgari watch – serial number SP35GL0201

18                     133.   1 Audemars Piguet watch – serial number K35986

19                     134.   1 Audemars Piguet watch – serial number HT8618J

20                     135.   1 Louis Vuitton black cord bracelet

21                     136.   2 Cartier silver bracelets

22                     137.   1 pair of Bulgari gold and green stud earrings

23                     138.   1 pair of silver stud earrings, no known brand

24                     139.   1 Cartier rose gold and diamond ring

25                     140.   1 pair of diamond stud earrings, with one cross, no known brand

26                     141.   1 Cartier Panthere ring with emerald eyes

27                     142.   1 Shreve & Co. silver chain necklace

28                     143.   1 gold pendant cross necklace
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 1                     144.   1 silver “paper clip” necklace

 2                     145.   1 Pandora charm bracelet

 3                     146.   1 strand of 8 Mikimoto pearls

 4                     147.   1 gold necklace with pendant

 5                     148.   1 Cartier cheetah pendant necklace

 6                     149.   1 Tiffany & co. ball and lock necklace

 7                     150.   1 Cartier cheetah pendant necklace with tassel

 8                     151.   1 Louis Vuitton pendant/pin necklace

 9                     152.   1 Cartier bolo necklace

10                     153.   1 Chanel gold necklace

11                     154.   1 Chanel silver necklace

12                     155.   1 Bulgari diamond necklace

13                     156.   1 gold necklace

14                     157.   7 necklaces with clover-shaped design

15                     158.   2 bracelets with clover-shaped design

16                     159.   1 Louis Vuitton bracelet

17                     160.   1 Chanel WG, diamonds camelia long transformable necklace

18                     161.   1 Louis Vuitton YG, WG, RG, diamonds brooch.

19          IT IS FURTHER ORDERED that the United States, through its appropriate agency, shall seize

20 the forfeited property forthwith and publish for at least thirty days on the government website

21 www.forfeiture.gov a notice of this Order, notice of the government=s intent to dispose of the property in

22 such manner as the Attorney General may direct, and notice that any person, other than the defendant,

23 having or claiming a legal interest in the property must file a petition with the Court and serve a copy on

24 government counsel within thirty (30) days of the final publication of notice or of receipt of actual

25 notice, whichever is earlier;

26          IT IS FURTHER ORDERED that, the government may conduct discovery, in order to identify,

27 locate, or dispose of property subject to forfeiture, in accordance with Rule 32.2(b)(3) of the Federal

28 Rules of Criminal Procedure;
     PRELIM. ORDER OF FORFEITURE
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 1          IT IS FURTHER ORDERED that the Court will retain jurisdiction to enforce the Preliminary

 2 Order of Forfeiture, and to amend it as necessary, pursuant to Federal Rule of Criminal

 3 Procedure 32.2(e).

 4          IT IS FURTHER ORDERED that, pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal

 5 Procedure, this Preliminary Order of Forfeiture shall become final as to the defendant at the time of

 6 sentencing and shall be made part of the sentence and included in the judgment.

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 8          IT IS SO ORDERED this 24th day of May 2022.

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10                                                       _______________________________
                                                         HON. HAYWOOD S. GILLIAM, JR.
11                                                       United States District Judge
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     PRELIM. ORDER OF FORFEITURE
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